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                            UNITED STATES DISTRICT COURT

                     FOR THE NORTHERN DISTRICT OF ILLINOIS

__________________________________________

JENNIFER MARINO, individually and on
behalf of all others similarly situated,

              Plaintiffs,                        CIV. A. NO. 1:16-CV-09715
v.
                                                  Hon. Jorge L. Alonso
POOH-BAH ENTERPRISES, INC. d/b/a                 Judge Presiding
VIP’S A GENTLEMEN’S CLUB and
PERRY MANDERA,                                   Hon. Sidney I. Schenkier
                                                 Magistrate Judge
              Defendants.


                      STIPULATION FOR DISMISSAL PURSUANT
                            TO FED. R. CIV. P. 41(a)(1)(A)

       The parties hereby dismiss the above-entitled action and all claims asserted in

the action, with each party to bear its own costs. This dismissal shall be without

prejudice to the right of a party to move for good cause within thirty (30) days to reopen

this action. If no party moves to re-open within thirty days, the dismissal shall be with

prejudice.




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DATED: July 10, 2020


On behalf of Plaintiffs                          On behalf of Defendant

/s/ Shannon Liss-Riordan___                    /s/ Matthew J. Ruza____
Shannon Liss-Riordan                           David L. Christlieb
Adelaide Pagano                                Matthew J. Ruza
Lichten & Liss-Riordan, P.C.                   LITTLER MENDELSON, P.C.
729 Boylston Street, Suite 2000                321 North Clark Street, Suite 1000
Boston, MA 02116                               Chicago, IL 60654
Tel: 617-994-5800                              Tel: 312-372-5520
                                               Attorneys for Defendants
Marc J. Siegel
Bradley Manewith                               Marty Denis
Siegel & Dolan, Ltd.                           BARLOW, KOBATA & DENIS LLP
150 N. Wacker Dr. Suite 1100                   525 W. Monroe Street Suite 2360
Chicago, IL 60606                              Chicago, IL 60661
Tel: 312-878-3210                              Tel: 312-648-5570




                             CERTIFICATE OF SERVICE

      I hereby certify that on July 10, 2020, a true and accurate copy of the foregoing

Stipulation for dismissal was filed via this Court’s CM/ECF system.



                                            /s/ Shannon Liss-Riordan_______

                                            Shannon Liss-Riordan, Esq.




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